 1                                                              HON. WHITMAN L. HOLT

 2 MICHELLE A. GREEN, WSBA #40007
   GATENS GREEN WEIDENBACH, PLLC
 3 305 Aplets Way / PO Box 523
   Cashmere, WA 98815
 4 (509) 888-2144
   Attorneys for Easterday Farms Produce, Co. and 3E Properties Partnership
 5
                        UNITED STATES BANKRUPCTY COURT
 6
                    FOR THE EASTERN DISTRICT OF WASHINGTON
 7
    In re:                                    Chapter 11
 8
                                              Lead Case N0. 21-00141
 9 EASTERDAY RANCHES, INC., et al.            Jointly Administered

10                                                NOTICE OF APPEARANCE
                 Debtors.
11

12 TO:          THE CLERK OF THE ABOVE-ENTITLED COURT
13 AND TO:      ALL PARTIES-IN-INTEREST
14        PLEASE TAKE NOTICE that the undersigned attorney, Michelle A. Green, of
15 Gatens Green Weidenbach, PLLC, 305 Aplets Way / P.O. Box 523, Cashmere, WA 98815,

16 do hereby make and enter her Notice of Appearance on behalf of EASTERDAY FARMS

17 PRODUCE, CO. and 3E PROPERTIES PARTNERSHIP, and requests that all further

18 papers and pleadings of every nature pertaining to this action be served upon the below

19 office.

20
     NOTICE OF APPEARANCE                                        GATENS GREEN WEIDENBACH, PLLC
                                                                           Attorneys at Law

     Page 1                                                                 (509) 888-2144
                                                                     305 Aplets Way / P.O. Box 523
                                                                     Cashmere, WA 98815-0523




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 1         PLEASE TAKE NOTICE that this Notice is made pursuant to Federal Rule of

 2 Bankruptcy Procedure 9010(b), and is made without waiving any objection as to

 3 jurisdiction or consenting to any adjudication by the court.

 4         PURSUANT to Federal Rules of Bankruptcy Procedure, 2002, 3017, 4001, and

 5 9007, the undersigned requests that an entry be made on the Clerk’s Matrix in this case and

 6 that all notices, given or required to be given, and all documents, served or required to be

 7 served in this case be given to and served on the person(s) set forth below:

 8         Michelle A. Green
           Gatens Green Weidenbach, PLLC
 9         305 Aplets Way / PO Box 523
           Cashmere, WA 98815-0523
10         Telephone: (509) 888-2144
           Michelle@ggw-law.com
11
           The foregoing requests includes not only the notices and papers referred to in the
12
     rules specified above, but also includes, without limitation, all orders, notices, hearing
13
     dates, applications, motions, petitions, requests, complaints, demands, replies, answers,
14
     schedules of assets and liabilities, statements of affairs, operating reports, plans of
15
     reorganization and disclosure statements, whether formal or informal, whether written or
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     oral, whether transmitted or conveyed by mail, courier service, delivery, telephone,
17
     telegraph, telex, telecopier or otherwise, and whether directed to parties in interest,
18

19

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     NOTICE OF APPEARANCE                                          GATENS GREEN WEIDENBACH, PLLC
                                                                             Attorneys at Law

     Page 2                                                                   (509) 888-2144
                                                                       305 Aplets Way / P.O. Box 523
                                                                       Cashmere, WA 98815-0523




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 1 generally or specifically. This request applies to documents served before and after the last

 2 date on which a proof of claim may be filed.

 3         DATED the 25th day of March, 2021.
 4
                                     s/Michelle A. Green
 5                                   MICHELLE A. GREEN, WSBA #40007
                                     GATENS GREEN WEIDENBACH, PLLC
 6                                   305 Aplets Way
                                     P.O. Box 523
 7                                   Cashmere, WA 98815-0523
                                     Telephone: (509) 888-2144
 8                                   Email: Michelle@ggw-law.com

 9                                   Attorney for Easterday Farms Produce, Co. and 3E
                                     Properties Partnership
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     NOTICE OF APPEARANCE                                          GATENS GREEN WEIDENBACH, PLLC
                                                                             Attorneys at Law

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                                                                       Cashmere, WA 98815-0523




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 1                                 CERTIFICATE OF SERVICE

 2         I, Michelle A. Green, hereby certify that on the 25th day of March, 2021, I

 3 electronically filed the foregoing with the Clerk of the Court using the CM/ECF System.

 4 Notice of this filing will be sent by operation of the Court’s electronic filing system. Parties

 5 may access this filing through the Court’s system.

 6
           DATED at Wenatchee, Washington this 25th day of March, 2021.
 7
                                      s/Michelle A. Green
 8                                    MICHELLE A. GREEN, WSBA #40007
                                      GATENS GREEN WEIDENBACH, PLLC
 9                                    305 Aplets Way
                                      P.O. Box 523
10                                    Cashmere, WA 98815-0523
                                      Telephone: 509-662-3685
11                                    Email: Michelle@ggw-law.com

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     NOTICE OF APPEARANCE                                            GATENS GREEN WEIDENBACH, PLLC
                                                                               Attorneys at Law

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